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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,

         Plaintiffs,

 v.                                                Civil Action No. 4:20-cv-00957-SDJ

 GOOGLE LLC,

         Defendant.


                 JOINT STIPULATION REGARDING OCTOBER 4, 2024
                  REPORT OF PROFESSOR JACOB HOCHSTETLER


       The Plaintiff States (“States”) and Defendant Google LLC (“Google”) (collectively, “the

Parties”), jointly submit this Stipulation with a proposed order memorializing this stipulation.

       WHEREAS, the States served an expert report by Professor Jacob Hochstetler on October

4, 2024 (the “October 4 Report”);

       WHEREAS, the States served their Motion to Deem Supplemental Expert Report of Jacob

Hochstetler Timely Served, ECF No. 638, on October 17, 2024 and Google filed its response on

October 23, 2024. ECF No. 644.

       IT IS HEREBY STIPULATED AND AGREED, between the undersigned parties, through

their undersigned counsel:

           1. The October 4 Report is deemed timely served.

           2. Google will file any expert report(s) responsive to the October 4 Report by

               November 26, 2024;

           3. The States will file rebuttal expert report(s) (if any) to Google’s November 26, 2024

               expert report(s) by December 11, 2024;


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            4. Professor Hochstetler will be deposed on December 16, 2024;

            5. All other experts disclosed on November 26 and December 11 will be deposed

                between December 16 and December 20, 2024;

            6. Parties may file any Daubert challenges to Prof. Hochstetler concerning his

                October 4 Report and December 11, 2024 report (if any), and any other experts

                disclosed on November 26, 2024 and December 11, 2024, by January 10, 2025;

            7. Parties will file responses to any Daubert motions filed pursuant to the January 10,

                2025 deadline by January 24, 2025;

            8. Parties will file replies to any Daubert motions filed pursuant to the January 10,

                2025 deadline by February 7, 2025;

            9. The States’ Motion to Deem Supplemental Expert Report of Jacob Hochstetler

                Timely Served (ECF No. 638) is moot;

        The Parties agree that this stipulation and proposed schedule should be limited to the

October 4 Report and the related responses, rebuttals, and briefing for the same; all other deadlines

in the Court’s scheduling order (ECF Nos. 194 and 609) should remain effective and unmodified.

The Parties respectfully request that the Court enter the attached proposed order memorializing

this stipulation.




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Dated: October 31, 2024                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that, on October 31, 2024, this document was filed electronically in compliance with

Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local

Rule CV-5(a)(3)(A).

                                                     /s/ Kathy D. Patrick
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